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                            UNITED STATES DISTRICT COURT

                             DISTRICT OF SOUTH DAKOTA

                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                    )             CR. 10-50015-01
                                             )
              Plaintiff,                     )
                                             )      ORDER ON DEFENDANT’S
    vs.                                      )     MOTION FOR CLARIFICATION
                                             )       OF PRETRIAL RELEASE
RON JONES, a/k/a                             )      ORDER & ALTERNATIVE
RONALD JOSEPH JONES,                         )     MOTION FOR MODIFICATION
ARNOLD CLARK, and                            )       OF PRETRIAL RELEASE
MARY CLARK,                                  )           [DOCKET 96]
                                             )
              Defendants.                    )
                                             )


                                    INTRODUCTION

          Defendant Ron Jones moves this court for an order clarifying its

previously issued order setting the conditions of Mr. Jones’ pretrial release.

[Docket No. 96]. Specifically, Mr. Jones seeks the court’s ruling on whether

condition number six1 of that release order permits him to personally contact

witnesses not named on the government’s “no contact list,” whom Mr. Jones

deems may provide exculpatory testimony at trial. In the event the court finds

that condition six prohibits Mr. Jones from contacting exculpatory witnesses,



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       Condition Six provides that “[t]he defendant shall not make any contact
with any person who may be a witness, co-defendant, or victim in this case, or in
any related case.” Docket No. 36.
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he moves the court for its order modifying the conditions of his release to

explicitly provide that he may personally contact witnesses not on the

government’s “no contact” list, whom he deems will provide exculpatory

testimony.

      The government resists Mr. Jones’ motion, asserting that a defendant’s

contact with witnesses, whether exculpatory or not, is specifically barred by

condition six of the court’s order, and that condition six is specifically

authorized by 18 U.S.C. § 3142(c)(1)(B)(v). See Docket No. 99. The government

further asserts that unrestricted contact between Mr. Jones and exculpatory

witnesses may result in fraudulent or subtly threatening activity on the part of

Mr. Jones. The government also resists the motion because it believes that Mr.

Jones’ concerns about pretrial release condition number six having a “chilling

effect” on his relationship with exculpatory witnesses, and his being subject to

a “spectre of guilt” are irrelevant to considerations regarding conditions of

pretrial release. Finally, the government states that the reasons proffered by

Mr. Jones urging modification of the terms of pretrial release are insufficient to

circumvent the court’s longstanding policy of requiring defendants on pretrial

release status to agree to have no contact with witnesses.

                                   DISCUSSION

      Mr. Jones argues that his constitutional rights under either the due

process clause of the Fourteenth Amendment or the compulsory process or

confrontation clauses of the Sixth Amendment necessitate that he be permitted
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to personally contact witnesses whom he deems to be exculpatory in nature.

Mr. Jones correctly asserts that, under either amendment, “the Constitution

guarantees criminal defendants ‘a meaningful opportunity to present a

complete defense.’ ” Crane v. Kentucky, 476 U.S. 683, 690 (1986) (quoting

California v. Trombetta, 467 U.S. 479, 485 (1984)).

A.    The Due Process and Compulsory Process Clauses

      The due process clause affords defendants the “right to offer the

testimony of witnesses, and to compel their attendance.” United States v.

Cannon, 475 F.3d 1013, 1022 (8th Cir. 2007) (quoting Washington v. Texas,

388 U.S. 14, 19 (1967)). By its terms, the Sixth Amendment compulsory

process clause confers the right to compel witnesses to appear through use of

subpoena power, but the clause has consistently been given broader

interpretation to include the right to present witness testimony from the

courtroom. Anderson v. Groose, 106 F.3d 242, 246 (8th Cir. 1997) (quoting

Taylor v. Illinois, 484 U.S. 400, 407-09 (1988)). The Supreme Court has said,

“Just as an accused has the right to confront the prosecution's witnesses for

the purpose of challenging their testimony, he has the right to present his own

witnesses to establish a defense.” Washington, 388 U.S. at 19.

      Mr. Jones presents no argument as to how his rights to due process or

compulsory process are infringed by the necessity that counsel or his

investigator be required to contact witnesses, rather than by Mr. Jones himself.


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Mr. Jones’ right to offer testimony and to compel the attendance of exculpatory

and other witnesses is not affected by the requirement that he have no

unmonitored pretrial contact with witnesses. Although he may not personally

contact witnesses, including those witnesses he deems to be exculpatory, he

completely retains the rights to have counsel investigate and prepare his case,

to compel the attendance of witnesses at trial, and to have those witnesses

testify at trial. This is what is required under the due process and compulsory

process clauses. See U.S. CONST . amend. V; U.S. CONST . amend. VI.

      Although Mr. Jones does not specifically raise the argument that his

Sixth Amendment right to effective assistance of counsel requires that he be

permitted to personally contact favorable witnesses, the court nonetheless

points out that the right to effective assistance does not afford a criminal

defendant the right to investigate his case and prepare a defense, at least to the

extent the defendant wishes to personally contact favorable witnesses while on

pretrial release. Instead, the Supreme Court has construed a defendant’s Sixth

Amendment right to effective assistance of counsel to mean that a defendant

has the right “to consult with an attorney and to have him investigate the case

and prepare a defense for trial.” Kansas v. Ventris, 129 S. Ct. 1841, 1845

(2009) (quoting Michigan v. Harvey, 494 U.S. 344, 348 (1990) (emphasis

added)). Neither the Sixth Amendment right to counsel nor the compulsory




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process clause confer upon a defendant the right to have unrestricted pretrial

contact with witnesses.

B.    The Confrontation Clause

      Mr. Jones suggests that his Sixth Amendment right to confront witnesses

may provide the necessary support to persuade the court to modify the terms

of his pretrial release. However, the Supreme Court has interpreted the Sixth

Amendment’s confrontation clause to be the “literal right to ‘confront’ the

witness at the time of trial.” United States v. Iron Moccasin, 878 F.2d 226, 230

(8th Cir. 1989) (quoting California v. Green, 399 U.S. 149, 157 (1970)); see also

Coy v. Iowa, 487 U.S. 1012, 1016-17 (1988). The Court has explained that

under the Confrontation Clause, a defendant is afforded two protections: “the

right physically to face those who testify against him, and the right to conduct

cross-examination.” Coy, 487 U.S. at 1017 (quoting Pennsylvania v. Ritchie,

480 U.S. 39, 51 (1987)). The Court has never construed the confrontation

clause to provide a defendant with the constitutional right to personally contact

or “confront” witnesses, whether exculpatory or inculpatory, prior to trial.

C.    Conditions of Pretrial Release

      Under the Bail Reform Act, when fashioning conditions of release, the

court is to consider those conditions which can reasonably assure the

appearance of the defendant at future proceedings as well as the safety of any

other person and the community. See 18 U.S.C. § 3142(e). The court has

broad discretion in determining which condition or combination of conditions
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are necessary to ensure the defendant’s appearance and protect the public.

The government cites 18 U.S.C. § 3142(c)(1)(B)(v) in support of its position that

Mr. Jones should be permitted no unsupervised pretrial contact with

witnesses. Docket No. 96, at 1. Section 3142(c)(1)(B)(v) provides that

      If the judicial officer determines that the release described in
      subsection (b) of this section [a release on personal recognizance or
      an unsecured appearance bond] will not reasonably assure the
      appearance of the person as required or will endanger the safety of
      any other person or the community, such judicial officer shall order
      the pretrial release of the person . . . subject to the least restrictive
      further condition, or combination of conditions, that such judicial
      officer determines will reasonably assure the appearance of the
      person as required and the safety of any other person and the
      community, which may include the condition that the person . . .
      avoid all contact with an alleged victim of the crime and with a
      potential witness who may testify concerning the offense.

18 U.S.C. § 3142(c)(1)(B)(v).

      The concept of public safety is given a broader construction than mere

physical violence, and includes the dangers that the defendant might engage in

criminal activity to the community’s detriment and that the community may

suffer only pecuniary harm as a result of the defendant’s release. See United

States v. Trammel, 922 F. Supp. 527 (N.D. Okla. 1995); United States v.

Williams, 565 F. Supp. 350 (N.D. Ill. 1983); and United States v. Miranda, 442

F. Supp. 786 (S.D. Fla. 1977).

      The allegations contained in the indictment refer to contact had by

Mr. Jones with various apparently unsuspecting members of the community,

which contact resulted in financial harm to those persons. If true, the

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allegations levied against Mr. Jones indicate the potential that unrestricted,

unmonitored contact with witnesses, even those whom Mr. Jones considers to

be favorable to him, may result in additional pecuniary harm or subversion of

the judicial process. Therefore, this court finds that, under the present

circumstances, a condition restricting contact with exculpatory witnesses to

contact between those witnesses and defense counsel or counsel’s investigator

is reasonably necessary to protect the safety of the public.

                                  CONCLUSION

      Because Mr. Jones has not demonstrated that his rights to due process,

compulsory process, or confrontation are affected by the court’s restriction that

only counsel or counsel’s investigator be permitted to contact exculpatory

witnesses, Mr. Jones’ motion to clarify or alternatively to modify the pretrial

conditions of release [Docket No. 96] is denied.

      Additionally, because the court finds that a condition restricting

Mr. Jones’ contact with witnesses is reasonably necessary to protect the

pecuniary interests of the public, the court declines to modify the conditions of

Mr. Jones’ pretrial release to authorize him to personally contact exculpatory

witnesses. Defense counsel and counsel’s investigator may have unrestricted

contact with witnesses whom Mr. Jones deems will provide exculpatory

testimony.




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                                NOTICE TO PARTIES

      Pursuant to 28 U.S.C. § 636(b)(1)(A), any party may seek reconsideration

of this order before the district court upon a showing that the order is clearly

erroneous or contrary to law. The parties have fourteen (14) days after service

of this order to file written objections pursuant to 28 U.S.C. § 636(b)(1), unless

an extension of time for good cause is obtained. See Fed. R. Crim. P. 58(g)(2).

Failure to file timely objections will result in the waiver of the right to appeal

questions of fact. Objections must be timely and specific in order to require

review by the district court.

      Dated October 13, 2010.

                                 BY THE COURT:


                                 /s/   Veronica L. Duffy
                                 VERONICA L. DUFFY
                                 UNITED STATES MAGISTRATE JUDGE




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